Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 1 of 15 Page ID #:1




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 6
     Adelfo Cerame, Jr.

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Adelfo Cerame, Jr.,                              Case No. 8:20-cv-208
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Gloria J. Kim; Young S. Kim; ABC
16
     Mortgage Company and Does 1-10,
     inclusive,
17

18                    Defendants.
19

20         Plaintiff, Adelfo Cerame, Jr., hereby complains and alleges as follows:
21

22                                 NATURE OF THE ACTION
23                1. This is an action seeking to remedy unlawful discrimination by
24   the Defendants against the Plaintiff in the Defendants’ places of public
25
     accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
26
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
27
     § 51, et seq.] (the “Unruh Act”).
28                                          -1-
                                          COMPLAINT
29

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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 2 of 15 Page ID #:2




 1
                                           PARTIES
 2                2. Plaintiff, Adelfo Cerame, Jr., is a paraplegic resident of the
 3   state of California who requires the use of a wheelchair for mobility purposes and
 4   who is therefore a “person with a disability” within the meaning of the ADA and
 5   Cal. Government Code § 12926.
 6                3. The Defendants (defined below) discriminated against
 7
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
 9
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
10
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                  4. The Defendant’s failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                5. Defendant, Gloria J. Kim, owns, operates, or leases real
19   property located at 12600 Brookhurst St, Garden Grove, CA 92840, also known as
20   Orange County Assessor’s Parcel No. 089-222-59 (the “Subject Property”).
21
                  6. Defendant, Young S. Kim, owns, operates, or leases real
22
     property located at the “Subject Property.”
23
                  7. Defendant, ABC Mortgage Company, owns, operates, or leases
24
     real property located at the “Subject Property.”
25
                  8. The Subject Property is a commercial facility open to the general
26

27

28                                            -2-
                                            COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 3 of 15 Page ID #:3




 1
     public, is a public accommodation, and is a business establishment insofar as
 2   goods and/or services are made available to the general public thereat. Defendant
 3   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 4   names and capacities are unknown to the Plaintiff. When their true names and
 5   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 6   true names and capacities herein. Plaintiff is informed and believes and thereon
 7
     alleges that each of the fictitiously named Defendants are responsible in some
 8
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 9
     alleged were proximately caused by those Defendants.
10

11
                                JURISDICTION AND VENUE
12
                   9.   This Court has jurisdiction over the subject matter of this action
13

14
     pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for

15   violations of the ADA.
16                 10. This Court has supplemental jurisdiction over the state law
17   claims alleged herein under the Unruh Act because the state law claim is an
18   attendant and related cause of action that arises from the same nucleus of operative
19   facts and arising out of the same transaction or occurrence as the federal law
20   claims set forth herein.
21
                   11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
22
     based on the fact that the real property that is the subject of this action is located in
23
     this district and the Plaintiff’s causes of action arose in this district.
24

25

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28                                             -3-
                                             COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 4 of 15 Page ID #:4




 1
                                 STATEMENT OF FACTS
 2                12. Parking spaces, accessible aisles, paths of travel, signage,
 3   doorways, service counters, customer areas and goods/services are among the
 4   facilities, privileges and advantages offered by the Defendants to patrons of the
 5   Subject Property.
 6                13.    The Subject Property does not comply with the minimum
 7
     requirements of the ADA and is therefore not equally accessible to Plaintiff or
 8
     similarly situated persons with mobility disabilities.
 9
                  14.    In November, 2019 and continuously from that time to the
10
     Present, and currently, the Subject Property has not been in compliance with the
11
     ADA (the “Barriers”):
12
                         A.    The Subject Property lacks the minimum required
13

14
     number of ADA compliant accessible parking spaces.

15                       B.    There was no diagonal striped marking and no blue
16   border around where an access aisle is supposed to exist adjacent to any designated
17   accessible parking space(s) serving the Subject Property.
18                       C.    The designated “accessible” parking space(s) and/or blue
19   striped access aisles provided at the Subject Property are smaller than permitted by
20   the ADA.
21
                         D.    The designated “accessible” parking spaces at the Subject
22
     Property do not provide accessible parking signage as required by the ADA.
23
     Among other things, they fail to provide tow-away signage and “Minimum Fine
24
     $250” signage as required by the ADA and state law to be posted near the
25
     designated accessible parking space(s).
26

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28                                           -4-
                                           COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 5 of 15 Page ID #:5




 1
                         E.    The designated “accessible” parking spaces at the Subject
 2   Property do not provide the universal symbol of accessibility.
 3                       F.    There is no twelve-inch high “NO PARKING” lettering
 4   on the blue-striped parking access aisle(s) serving the Subject Property.
 5                       G.    There was no designated “van accessible” parking space
 6   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 7
     going forward into the parking space and no sign or additional language stating
 8
     “Van Accessible” below the symbol of accessibility located in a manner that is not
 9
     obstructed.
10
                         H.    Accessible paths of travel serving the Subject Property
11
     contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
12
     or curb ramps.
13

14
                         I.    There were no accessible paths of travel from public

15   transportations stops, accessible parking, public streets and sidewalks to the
16   building entrances serving the Subject Property.
17                       J.    The paths of travel and turning radiuses serving the
18   interior of business locations at the Subject Property do not comply with the ADA
19   because they provide unreasonably narrow paths of travel and turning radiuses.
20                 15.   Plaintiff personally encountered one or more of the Barriers
21
     at the Subject Property in November, 2019.
22
                   16.   From November, 2019 to the present, the Plaintiff has been
23
     deterred from the Subject Property because of his knowledge of the existence of
24
     Barriers.
25
                   17.   The existence of Barriers, the implementation of discriminatory
26

27

28                                           -5-
                                           COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 6 of 15 Page ID #:6




 1
     policies, practices and procedures, and other ADA violations at the Subject
 2   Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
 3   dissuaded or deterred Plaintiff from accessing the Subject Property on particular
 4   occasions between November, 2019 and the present.
 5                18.   Plaintiff would like to return and patronize the Subject Property
 6   and use the business establishments thereat and intends to do so in the near future
 7
     but will be deterred from doing so until all ADA violations are remediated.
 8
                  19.   On information and belief, the remediation of violations
 9
     identified hereinabove, to be identified by the Defendants in discovery, and to be
10
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
11
     them by the Defendants is and has been easily accomplishable without much
12
     difficulty or expense.
13

14
                  20.   Defendants violated the ADA by failing to remove all mobility-

15   related architectural barriers at the Subject Property. On information and belief,
16   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
17   intentional because the barriers described herein are clearly visible and tend to be
18   obvious even to a casual observer and because the Defendants operate the Subject
19   Property and have control over conditions thereat and as such they have, and have
20   had, the means and ability to make the necessary remediation of access barriers if
21
     they had ever so intended.
22
                  21.   On information and belief, access barriers at the Subject
23
     Property are being consciously ignored by the Defendants; the Defendants have
24
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
25
     the ADA. Plaintiff further alleges on information and belief that there are other
26
     ADA violations and unlawful architectural barriers at the Subject Property that
27

28                                           -6-
                                           COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 7 of 15 Page ID #:7




 1
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
 2   remediation of which is required under the ADA.
 3                22.    Plaintiff hereby seeks to remediate and remove all barriers
 4   related to his disability, whether presently known or unknown. As the court held
 5   in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
 6         “[W]here a disabled person has Article III standing to bring a claim for
 7         injunctive relief under the ADA because of at least one alleged statutory
           violation of which he or she has knowledge and which deters access to, or
 8
           full use and enjoyment of, a place of public accommodation, he or she may
 9         conduct discovery to determine what, if any, other barriers affecting his or
10
           her disability existed at the time he or she brought the claim. This list of
           barriers would then in total constitute the factual underpinnings of a single
11         legal injury, namely, the failure to remove architectural barriers in violation
12         of the ADA, which failure actually harmed the disabled person by deterring
           that disabled person from visiting a facility that otherwise would have been
13
           visited at a definite future time, yielding Article III standing.”
14

15                23.    Even if strictly compliant barrier removal were determined to
16   be structurally or otherwise impracticable, there are many alternative methods of
17   providing accommodations that are readily apparent and that could provide a
18   greater degree of accessibility to the Plaintiff and similarly situated persons but for
19   the Defendants’ discriminatory policies, practices and procedures and Defendants’
20   conscious indifference to their legal obligations and to the rights of persons with
21
     mobility disabilities. Defendants’ failure to implement reasonable available
22
     alternative methods of providing access violates the ADA [42 U.S.C. §
23
     12182(b)(2)(A)(v)].
24
                  24.    The violations and references to code sections herein are not
25
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
26
     of the full scope of ADA violations after conducting a comprehensive expert site
27

28                                            -7-
                                            COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 8 of 15 Page ID #:8




 1
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
 2   asserts that the barriers alleged herein violate one or more of the ADA’s
 3   implementing regulations. The Defendants have maintained and continue to
 4   maintain discriminatory policies, procedures and practices that disregard their
 5   obligations under the ADA by allocating resources for physical improvements to
 6   the Subject Property that were did not provide legally required accessibility
 7
     improvements, by failing to conduct ADA self-inspections or create ADA
 8
     compliance plans regarding the Subject Property, by causing alterations to be made
 9
     to the Subject Property in disregard of ADA requirements, and for failing and
10
     refusing to make necessary accommodations for persons with mobility disabilities
11
     at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
12
     rights compliance policies, procedures and practices are discriminatory and violate
13

14
     the ADA.

15

16                             FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
17
                                 [42 U.S.C. §§ 12101, et seq.]
18                            By Plaintiff against all Defendants
19

20                25.    Plaintiff re-alleges and incorporates by reference as though
21   fully set forth herein the allegations contained in all prior paragraphs of this
22   complaint.
23                26.    The ADA obligates owners, operators, lessees and lessors of
24   public accommodations to ensure that the privileges, advantages, accommodations,
25
     facilities, goods and services are offered fully and equally to persons with
26
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
27
     12182(a)].
28                                            -8-
                                            COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 9 of 15 Page ID #:9




 1
                  27.    Discrimination is defined in the ADA, inter alia, as follows:
 2                       A.    A failure to remove architectural barriers where such
 3   removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 4   barriers are identified and described in the Americans with Disabilities Act
 5   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
 6                       B.    A failure to make alterations in such a manner that, to the
 7
     maximum extent feasible, the altered portions of the facility are readily accessible
 8
     to and usable by individuals with disabilities, including individuals who use
 9
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
10
     the altered area and the bathrooms, telephones, and drinking fountains serving the
11
     altered area, are readily accessible to and usable by individuals with disabilities [42
12
     U.S.C. § 12183(a)(2)].
13

14
                         C.    Where an entity can demonstrate that the removal of a

15   barrier is not readily achievable, a failure to make such goods, services, facilities,
16   privileges, advantages, or accommodations available through alternative methods
17   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
18                       D.    A failure to make reasonable modifications in
19   policies, practices, or procedures, when such modifications are necessary to afford
20   such goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities, unless the entity can demonstrate that making such
22
     modifications would fundamentally alter the nature of such goods, services,
23
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
24
     12182(b)(2)(A)(ii)].
25
                  28.    The ADA, the ADAAG’s 1991 Standards (the “1991
26

27

28                                           -9-
                                           COMPLAINT
29

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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 10 of 15 Page ID #:10




  1
      Standards”) and 2010 Standards (the “2010 Standards”), and the California
  2   Building Code (the “CBC”) contain minimum standards that constitute legal
  3   requirements regarding wheelchair accessibility at places of public
  4   accommodation:
  5                      A.    If parking spaces are provided for self-parking by
  6   employees or visitors, or both, then the subject property must provide at least the
  7
      minimum required number of accessible parking spaces. Accessible parking
  8
      spaces must be marked to define their width and must have an adjacent ADA
  9
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 10
      and van parking spaces must be at least 132 inches wide except that van parking
 11
      spaces can be 96 inches wide where the access aisle is not less than 96 inches
 12
      wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 13

 14
      Subject Property does not comply with the ADA.

 15                      B.    To qualify as a reserved handicap parking space, the
 16   space must be properly marked and designated. Under the ADA, the method,
 17   color of marking and length of the parking space are to be addressed by state or
 18   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 19   and 503].
 20                      C.    To properly and effectively reserve a parking space for
 21
      persons with disabilities, each parking space must be at least 216 inches in length
 22
      [CBC § 11B-502.2].
 23
                         D.    Each parking space reserved for persons with disabilities
 24
      shall be identified by a reflectorized sign permanently posted immediately
 25
      adjacent to and visible from each stall or space, consisting of the International
 26
      Symbol of Accessibility in white on a dark blue background. The sign shall not be
 27

 28                                          -10-
                                           COMPLAINT
 29

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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 11 of 15 Page ID #:11




  1
      smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
  2   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
  3   the sign to the parking space finished grade. Signs may also be centered on the
  4   wall at the interior end of the parking space. An additional sign or additional
  5   language below the symbol of accessibility shall state "Minimum Fine $250"
  6   [2010 Standards § 502.6; CBC § 1129B.4].
  7
                        E.     Signs identifying accessible parking spaces must include
  8
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
  9
                        F.     To properly and effectively reserve a parking space for
 10
      persons with disabilities, the surface of the access aisle must have a blue
 11
      border; the words “NO PARKING” in letters at least a foot high must be
 12
      painted on the access aisle [CBC § 1129B.3].
 13

 14
                        G.     One in every eight accessible spaces, but not less than

 15   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 16   wide minimum placed on the side opposite the driver’s side when the vehicle is
 17   going forward into the parking space and shall be designated van accessible. Van
 18   accessible spaces must have an additional sign or additional language stating "Van
 19   Accessible" below the symbol of accessibility. Signs identifying accessible
 20   parking spaces must be located so they cannot be obscured by a vehicle parked in
 21
      the space [1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 22
      and B4].
 23
                        K.     Changes in levels along an accessible route greater
 24
      than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or
 25
      platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
 26
      406].
 27

 28                                          -11-
                                           COMPLAINT
 29

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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 12 of 15 Page ID #:12




  1
                        N.    At least one accessible route must be provided from
  2   public transportation stops, accessible parking, and accessible passenger
  3   loading zones, and public streets or sidewalks to the accessible building
  4   entrance they serve. The accessible route must, to the maximum extent
  5   feasible, coincide with the route for the general public, must connect
  6   accessible buildings, facilities, elements, and spaces that are on the same
  7
      site, and at least one accessible route must connect accessible building or
  8
      facility entrances with all accessible spaces and elements and with all
  9
      accessible dwelling units within the building or facility [1991 Standards §§
 10
      4.1.2(1) and 4.3.2; 2010 Standards §§ 206 and 401].
 11
                        O.     The minimum clear width of an accessible route is
 12
      36 in (915 mm), except at where a person in a wheelchair must make a turn
 13

 14
      around an obstruction, in which case the minimum clear width of the

 15   accessible route is set forth in Figures 7(a) and 7(b) [1991 Standards § 4.3].
 16               29.   The Defendants have failed to comply with minimum
 17   ADA standards and have discriminated against Plaintiff on the basis of
 18   Plaintiff’s mobility disability. Each of the barriers and accessibility
 19   violations set forth above is readily achievable to remove, is the result of an
 20   alteration that was completed without meeting minimum ADA standards,
 21
      or could be easily remediated by implementation of one or more available
 22
      alternative accommodations. Accordingly, the Defendants have violated
 23
      the ADA.
 24
                  30.   The Defendants are obligated to maintain in operable
 25
      working condition those features of the Subject Property’s facilities and
 26
      equipment that are required to be readily accessible to and usable by
 27

 28                                        -12-
                                         COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 13 of 15 Page ID #:13




  1
      Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
  2   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
  3   Subject Property were available and ready to be used by the Plaintiff
  4   violates the ADA.
  5               31.    The Defendants have a duty to remove architectural
  6   barriers where readily achievable, to make alterations that are consistent
  7
      with minimum ADA standards and to provide alternative accommodations
  8
      where necessary to provide wheelchair access. The Defendants benign
  9
      neglect of these duties, together with their general apathy and indifference
 10
      towards persons with disabilities, violates the ADA.
 11
                  32.    The Defendants have an obligation to maintain policies,
 12
      practices and procedures that do not discriminate against the Plaintiff and
 13

 14
      similarly situated persons with mobility disabilities on the basis of their

 15   disabilities. The Defendants have maintained and continue to maintain a policy
 16   of disregarding their obligations under the ADA, of allocating resources for
 17   improvements insufficient to satisfy legal requirements regarding accessibility
 18   improvements, of failing to conduct ADA self-inspections or create ADA
 19   compliance plans, of causing alterations to be made to the Subject Property in
 20   disregard of ADA requirements, and of failing and refusing to make necessary
 21
      accommodations for persons with mobility disabilities at the Subject Property, in
 22
      violation of the ADA.
 23
                  33.    The Defendants wrongful conduct is continuing in that
 24
      Defendants continue to deny full, fair and equal access to their business
 25
      establishment and full, fair and equal accommodations, advantages,
 26
      facilities, privileges and services to Plaintiff as a disabled person due to
 27

 28                                          -13-
                                           COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 14 of 15 Page ID #:14




  1
      Plaintiff’s disability. The foregoing conduct constitutes unlawful
  2   discrimination against the Plaintiff and other mobility disabled persons
  3   who, like the Plaintiff, will benefit from an order that the Defendants
  4   remove barriers and improve access by complying with minimum ADA
  5   standards.
  6

  7
                               SECOND CAUSE OF ACTION
  8                            Violations of the Unruh Rights Act
                                [Cal. Civil Code § 51, et seq.]
  9
                               By Plaintiff against all Defendants
 10

 11                34.     Plaintiff re-alleges and incorporates by reference as though
 12
      fully set forth herein the allegations contained in all prior paragraphs of this
 13
      complaint.
 14
                   35.    The foregoing violations of the ADA constitute per se
 15
      violations of the Unruh Act [Cal. Civil Code § 51(f)].
 16
                   36.    Plaintiff personally encountered Barriers at the Subject
 17
      Property and has experienced, difficulty, discomfort or embarrassment or
 18

 19
      has been reasonably dissuaded or deterred from accessing the Subject
 20   Property on particular occasions due to ADA violations which would have
 21   actually denied Plaintiff full and equal access if he had attempted to access
 22   the Subject Property on those particular occasions.
 23                37.    Due to the unlawful discrimination set forth above,
 24   Plaintiff has been denied the right and entitlement to full and equal
 25
      accommodations, advantages, facilities, privileges or services by the
 26
      Defendants at the Subject Property in violation of the Unruh Act.
 27

 28                                            -14-
                                             COMPLAINT
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Case 8:20-cv-00208-RGK-AFM Document 1 Filed 02/03/20 Page 15 of 15 Page ID #:15




  1

  2

  3                             PRAYER FOR RELIEF
  4         Plaintiff prays to this Court for injunctive, declaratory and all other
  5   appropriate relief under the ADA and the Unruh Act, including but not
  6   limited to reasonable attorney’s fees, litigation expenses and costs of suit
  7
      pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
  8
            Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
  9         not seek injunctive relief under the Disabled Persons Act at all.
 10
      Respectfully submitted,
 11

 12   Dated: February 3, 2020     LAW OFFICES OF ROSS CORNELL, APC
 13

 14                                 By: /s/ Ross Cornell
 15                                     Ross Cornell, Esq.,
                                        Attorneys for Plaintiff,
 16
                                        Adelfo Cerame, Jr.
 17

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 28                                        -15-
                                         COMPLAINT
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